Case 17-64941-sms      Doc 47    Filed 01/29/21 Entered 01/29/21 16:04:03          Desc Main
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                                                                      PLEASE TYPE OR PRINT



                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF GEORGIA
                        Request for Change of Address
 Case Name: ROGER CARROLL BURGESS

 Case No.: 17-69641             Chapter: 7

 Change of Address for:
      Debtor D Creditor flAttorney for Debtor             ri   Attorney for Creditorn


                       E Payments ONLY n Notices and Payments
 Change for:
      Notices ONLY

 EFFECTIVE DATE OF CHANGE:                   01/29/2021

 Name:                                       ROGER CARROLL BURGESS

 Prior Address:                              1601 SUGAR PLUM DRIVE
                                             CONYERS GA 30094




 New. Address:                               . , CARROLL BURGESS
                                           ROGER
                                        •..2612 LELAND. DRIVE
                                           AUGUSTA, GA 30909


 Change of Address Was Furnished By:         Debtor_sE_ Creditor_- 1:. Attorney

 Date: 01/29/2021                  Signature of Filer:
                                   Telephone Number: 404-809-0288


                                IF FILED BY ATTORNEY

 Attorney Name:

 Bar ID:
 Address:


 Revised August 2012
